            Case 2:09-cr-00380-WBS Document 309 Filed 07/08/16 Page 1 of 2


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4
     Attorney for Defendant
5    ARMANDO ESPINDOLA

6

7                          IN THE UNITED STATES DISTRICT COURT

8                         FOR THE EASTERN DISTRICT OF CALIFORNIA

9

10   UNITED STATES OF AMERICA,             )
                                           )      2:09-cr-00380-WBS
11                            Plaintiff,   )
                                           )      STIPULATION AND ORDER
12   v.                                    )      TO CONTINUE ADMIT/DENY HEARING
                                           )
13                                         )
     ARMANDO ESPINDOLA,                    )
14                                         )
                             Defendant.    )
15   __________________________________    )

16
                                        STIPULATION
17
           Plaintiff, United States of America, by and through its counsel,
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     Assistant United States Attorney Jeremy J. Kelley, and defendant, Armando
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     Espindola, by and through his counsel, Erin J. Radekin, agree and stipulate
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     to vacate the date set for admit/deny hearing, July 11, 2016 at 9:00 a.m., in
21
     the above-captioned matter, and to continue the admit/deny hearing to August
22
     29, 2016 at 9:00 a.m. in the courtroom of the Honorable William B. Shubb.
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           The reason for this request is that the parties have determined
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     resolution of this matter should follow the state matter that underlies the
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     sole violation of supervised release alleged, and the next court appearance
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     in the state case is August 13, 2016.     Further, the parties need time to
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     review the relevant police reports and conduct any follow-up investigation.
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                                    Stipulation and Order - 1
               Case 2:09-cr-00380-WBS Document 309 Filed 07/08/16 Page 2 of 2


 1   The parties contemplate that if substantial progress in the state case has

 2   not been made by late August, 2016, they will set this case for hearing or

 3   negotiate a resolution.    The court is advised Mr. Kelley and United States

 4   Probation Officer Jose Figueroa concur with this request and Mr. Kelley has

 5   authorized Ms. Radekin to sign this stipulation on his behalf.

 6            Accordingly, the parties respectfully request the Court adopt this

 7   proposed stipulation.

 8   IT IS SO STIPULATED.

 9   Dated: July 7, 2016                            BENJAMIN WAGNER
                                                    United States Attorney
10
                                            By:      /s/ Jeremy J. Kelley
11                                                  JEREMY J. KELLEY
                                                    Assistant United States Attorney
12

13   Dated: July 7, 2016                             /s/ Erin J. Radekin
                                                    ERIN J. RADEKIN
14                                                  Attorney for Defendant
                                                    ARMANDO ESPINDOLA
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16
                                            ORDER
17
              For the reasons set forth in the accompanying stipulation and
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     declaration of counsel, the admit/deny hearing date of July 11, 2016 is
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     VACATED and the above-captioned matter is set for admit/deny hearing on
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     August 29, 2016 at 9:00 a.m.
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     IT IS SO ORDERED.
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     Dated:    July 7, 2016
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                                     Stipulation and Order - 2
